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        UNITED STATES BANKRUPTCY COURT
        DISTRICT OF NEW JERSEY
        Caption in Compliance with D.N.J. LBR 9004-1(b)
        RAS Citron, LLC
        Authorized Agent for Secured Creditor
        130 Clinton Road, Lobby B, Suite 202
        Fairfield, NJ 07004
        Telephone: 973-575-0707
        Facsimile: 973-404-8886

        Laura Egerman, Esq. (LE-8250)

        In Re:                                                  Case No.:       18-29938-MBK

        Roseanne T. Puleo,                                      Chapter:        7

                 Debtor.                                        Hearing Date: November 19, 2018

                                                                Judge:          Michael B. Kaplan

                    NOTICE OF MOTION FOR RELIEF FROM AUTOMATIC STAY

                                        HEARING DATE AND TIME:
                                        November 19, 2018 at 10:00 a.m.

                            ORAL ARGUMENT IS REQUESTED IN THE EVENT
                                   OPPOSITION IS TIMELY FILED
       TO:

Debtor-                    Debtor’s Attorney-             Trustee-                    U.S. Trustee-
Roseanne T Puleo           Brad J. Sadek                  Andrea Dobin                US Dept of Justice
432 Holmes Drive           Sadek and Cooper               Trenk DiPasquale            Office of the US Trustee
Burlington, NJ 08016       1315 Walnut Street             427 Riverview Plaza         One Newark Center
                           Ste 502                        Trenton, NJ 08611           Ste 2100
                           Philadelphia, PA 19107                                     Newark, NJ 07102

                 PLEASE TAKE NOTICE that on November 19, 2018, at 10:00 a.m., or as soon
       thereafter as counsel may be heard, RAS Citron, LLC, attorneys for Nationstar Mortgage LLC
       d/b/a Mr. Cooper, the within creditor ("Creditor"), shall move before the Honorable Michael B.
       Kaplan, United States Bankruptcy Judge, at 402 East State Street, Trenton, N.J. 08608,
       Courtroom #8, for an Order pursuant to 11 U.S.C. §362(d)(1) granting such Creditor relief from


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automatic stay or, for costs and disbursements of this action, and for such other and further relief
as to the Court may seem just and proper.

          PLEASE TAKE FURTHER NOTICE that in support of the Motion, the undersigned
shall rely on the accompanying Certification in Support of Motion for Relief. A proposed form
of Order is also being submitted. A Memorandum of Law has not been submitted because the
issues raised by the Motion are not extraordinary or unusual necessitating the filing of legal
briefs.

          PLEASE TAKE FURTHER NOTICE that objections, if any, to the relief requested in the
Motion shall: (i) be in writing; (ii) specify with particularity the basis of the objection; and (iii)
be filed with the CLERK, UNITED STATES BANKRUPTCY COURT, Clarkson S. Fisher
US Courthouse, 402 East State Street, Trenton, NJ 08608, and simultaneously served on
Secured Creditor's counsel, RAS Citron, LLC, 130 Clinton Road, Lobby B, Suite 202,
Fairfield, NJ 07004, so as to be received no later than seven (7) days before the return date set
forth herein.

          PLEASE TAKE FURTHER NOTICE that unless objections are timely filed and served,
the Motion shall be deemed uncontested in accordance with D.N.J. LBR 9013-1(a) and the relief
requested may be granted without a hearing.

          PLEASE TAKE FURTHER NOTICE that counsel hereby requests oral argument in
accordance with D.N.J. LBR 9013-1 (f) in the event opposition papers are timely filed.

 DATED: October 24, 2018
                                                     RAS Citron, LLC
                                                     130 Clinton Road, Lobby B, Suite 202
                                                     Fairfield, NJ 07004
                                                     Telephone: 973-575-0707
                                                     Facsimile: 973-404-8886

                                                     By: /s/ Laura Egerman______
                                                     Laura Egerman, Esq.
                                                     Bar ID: LE-8250
                                                     Email: legerman@rasnj.com




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